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VIA ECF
Hon. Ona T. Wang
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, NY 10007-1312

           RE:            Authors Guild et al. v. OpenAI, Inc., et al., and Alter et al. v. OpenAI
                          Inc., et al., Nos. 1:23-cv-08292-SHS & 1:23-cv-10211-SHS

Dear Judge Wang:

Pursuant to Rule IV.a. of Your Honor’s Individual Practices, we submit this joint letter-motion to
seal on behalf of the Author Plaintiffs and the OpenAI Defendants (“OpenAI”) in the above-
captioned matter in connection with documents referenced in Plaintiffs’ contemporaneously filed
Motion to Compel.

The redactions in Plaintiffs’ letter-motion describe documents that OpenAI produced in
discovery and designated confidential or highly confidential under the operative Protective
Order.

Plantiffs’ Position on Sealing. Plaintiffs take no position on whether the redacted material
should remain under seal.

OpenAI’s Position on Sealing. For the reasons stated below and articulated in more detail in the
supporting declaration of Michael Trinh, OpenAI respectfully requests the Court grant this
motion to seal.

OpenAI moves to seal:

       1. Limited portions of Plaintiffs’ Motion to Compel that reference or summarize
          confidential materials;
       2. Exhibits 1-5, 7, 9-12, 14-18, 20-25 to Plaintiffs’ Motion to Compel, which contain
          business information or communications that have been designated as confidential or
          highly confidential pursuant to the Protective Order in this case (ECF No. 148).

        OpenAI’s proposed redactions and sealing are consistent with the Second Circuit’s
opinions in Lugosch v. Pyramid Company of Onondaga, 435 F.3d 110 (2d Cir. 2006) and
Bernstein v. Bernstein Litowitz Berger & Grossman LLP, 814 F.3d 132 (2d Cir. 2016). Pursuant
to Lugosch, the Court must first assess whether the documents at issue are “judicial documents”
to determine whether the presumption in favor of public access in filings applies at all. 435 F.3d
at 119. Documents “simply passed between the parties in discovery” are not judicial documents
and “lie beyond the presumption’s reach.” Brown v. Maxwell, 929 F.3d 41, 49-50 (2d Cir. 2019)
(internal quotation marks omitted); see Bernstein, 814 F. 3d at 142 (documents “such as those

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passed between the parties in discovery often play no role in the performance of Article III
functions and so the presumption of access to these records is low” (internal quotation marks
omitted)). This remains true even where the Court must assess those documents in the context of
a discovery motion. See Nespresso USA, Inc. v. Williams-Sonoma, Inc., No. 19-cv-4223-LAP-
KHP, 2021 WL 1812199, at *1 (S.D.N.Y. May 6, 2021) (granting motion to seal portions of
letter brief referencing information passed between the parties in discovery and exhibits
designated under parties’ protective order).

         Where documents are submitted to the Court pursuant to a confidentiality agreement, the
Second Circuit has held that it is “presumptively unfair for courts to modify protective orders
which assure confidentiality and upon which the parties have reasonably relied.” Uni-Systems,
LLC v. United States Tennis Ass’n, Inc., No. 17-cv-147-KAM-CLP, 2020 WL 8266015, at *8
(quoting S.E.C. v. TheStreet.Com, 273 F.3d 222, 230 (2d Cir. 2001)). Moreover, “the
presumption of public access in filings submitted in connection with discovery disputes . . . is
generally somewhat lower than the presumption applied to material introduced . . . in connection
with dispositive motions.” Brown v. Maxwell, 929 F.3d 41, 50 (2d Cir. 2019). While the Court
“‘must still articulate specific and substantial reasons’ for sealing material filed in connection
with a discovery dispute, ‘the reasons usually need not be as compelling as those required to
seal’ filings connected to a dispositive motion.” Rand v. Travelers Indem. Co., No. 21-CV-10744
(VB)(VF), 2023 WL 4636614, at *2 (S.D.N.Y. July 19, 2023) (quoting Brown, 929 F.3d 41, 50).

        In this matter, OpenAI has designated as highly confidential sensitive information related
to OpenAI’s business practices, the disclosure of which would harm OpenAI’s competitiveness
in a nascent and highly competitive market. Such information is routinely deemed confidential
and filed under seal by the Courts. See IBM Corp. v. Micro Focus (US), Inc., No. 22-CV-9910
(VB)(VR), 2024 WL 495137, at *1 (S.D.N.Y. Feb. 8, 2024) (“Courts in this District routinely
permit parties to seal or redact commercially sensitive information to protect confidential
business interests and financial information.”).

        Exhibits 1-5, 7, 9-12, 14-18, 20-25 (and the accompanying portions of Plaintiff’s letter-
motion citing excerpts from those documents) comprise confidential communications and
documents relating to three categories of information: (i) discussions between OpenAI
employees concerning detailed processes for training ChatGPT models (Ex. Nos. Ex. Nos. 1-5,
7, 9, 10, 14-17, 20, 21, 23, 24); (ii) forward-looking strategic business communications and
discussions (Ex. Nos. 11, 24, 25); or (iii) actual or potential agreements and partnerships between
OpenAI and other entities (Ex. Nos. 2, 22). See Declaration of Michael Trinh ¶¶ 3-6. The
portions of Plaintiffs’ letter-motion proposed for sealing directly summarize or quote the content
of these highly sensitive documents, which include confidential information of OpenAI and third
parties. OpenAI treats each category of documents as confidential or highly confidential—it
does not generally disclose similar documents to the public. See id.

        Similar documents revealing confidential business information are regularly sealed by
other courts in this District. See Kewazinga Corp. v. Microsoft Corp., No. 1:18-cv-4500-GHW,
2021 WL 1222122, at *7 (S.D.N.Y. Mar. 31, 2021) (sealing “confidential and proprietary data
collection procedures”); Louis Vuitton Mallatier S.A. v. Sunny Merch. Corp., 97 F. Supp. 3d 485,

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511 (S.D.N.Y. 2015) (sealing “business information and strategies, which, if revealed, may
provide valuable insights into a company’s current business practices that a competitor would
seek to exploit” (internal quotation marks omitted)). The information contained in these
documents and mirrored or summarized in Plaintiffs’ letter-motion could be used by competitors
to unfairly compete with OpenAI, in that they would be given access to the information that
would not otherwise be available to them. This risk is elevated in the highly competitive field of
artificial intelligence—OpenAI is at the forefront of developing and employing new products and
software, and any disclosure of related information could be exploited by other players in the
space. Thus, if not sealed, disclosure could pose serious risk of competitive harm.

       Accordingly, in order to maintain the confidential nature of this information, OpenAI
respectfully requests the Court grant this motion to seal.

Sincerely,

MORRISON & FOERSTER LLP
/s/ John Lanham
John Lanham

KEKER, VAN NEST & PETERS LLP
/s/ Michelle Ybarra
Michelle Ybarra

LATHAM & WATKINS LLP
/s/ Elana Nightingale Dawson
Elana Nightingale Dawson

SUSMAN GODFREY LLP
/s/ Rohit Nath
Rohit Nath

LIEFF CABRASER HEIMANN & BERNSTEINS LLP
/s/ Rachel Geman
Rachel Geman




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